|[pic]                                                                              |
|                                                                                   |
|                      |     |Court of Appeals           |     |                      |
|BRIAN QUINN           |     |                           |     |PEGGY CULP            |
|Chief Justice         |     |Seventh District of Texas  |     |CLERK                 |
|                      |     |Potter County Courts       |     |                      |
|JAMES T. CAMPBELL     |     |Building                   |     |                      |
|Justice               |     |501 S. Fillmore, Suite 2-A |     |MAILING ADDRESS:      |
|                      |     |Amarillo, Texas 79101-2449 |     |P. O. Box 9540        |
|MACKEY K. HANCOCK     |     |www.7thcoa.courts.state.tx.|     |79105-9540            |
|Justice               |     |us                         |     |                      |
|                      |     |                           |     |                      |
|PATRICK A. PIRTLE     |     |                           |     |(806) 342-2650        |
|Justice               |     |                           |     |                      |


                              February 5, 2013

|Artie Aguilar                     |Eric Tai                             |
|LAW OFFICE OF ARTIE AGUILAR       |Texas Department of Family and       |
|1015 Buddy Holly Ave              |Protective Services                  |
|Lubbock, TX 79401                 |2401  Ridgepoint Dr., Bldg H-2       |
|                                  |Austin, TX 78754                     |
|                                  |                                     |
|Barbara  J. Dickerson             |Matthew Harris                       |
|Attorney At Law                   |Attorney at Law                      |
|P.O. Box 53925                    |1001 Mail Street, Suite 200          |
|Lubbock, TX 79423                 |Lubbock, TX 79401                    |

      Dear Counsel:

            The Court this day disposed of Cause No. 07-12-00449-CV,  styled
      In the Interest of J.E., a Child.  Enclosed are copies of the  Court's
      opinion and judgment.  Tex. R. App. P. 48.

             In  addition,  pursuant  to   Texas   Government   Code,   Sec.
      51.204(b)(2), exhibits on file  with  this  Court,  if  any,  will  be
      destroyed three years after final disposition of the  case  or  at  an
      earlier date if ordered by the Court.


                                                   Very truly yours,


                                                   PEGGY CULP, CLERK


                                                   By:___________________


      |xc: |Honorable Kevin C. Hart                                 |
|    |Barbara Sucsy                                           |
|    |Lexis/Nexis                                             |
|    |Wolters Kluwer Law &amp; Business                           |
|    |State Bar of Texas                                      |
|    |West Publishing                                         |

